                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 ROBERT ANTOINE TRUSS,                               )
                                                     )
                Petitioner,                          )
                                                     )
 v.                                                  )       Nos.    3:05-CR-146-TWP-CCS-1
                                                     )               3:16-CV-416-TWP
 UNITED STATES OF AMERICA,                           )
                                                     )
                Respondent.                          )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct his sentence

 pursuant to 28 U.S.C. § 2255 [Doc. 171]. He bases his request for relief on Johnson v. United

 States, 135 S. Ct. 2551 (2015), in which the Supreme Court held that the residual clause of the

 Armed Career Criminal Act (“ACCA”) was unconstitutionally vague [Id.]. The United States

 responded in opposition on July 27, 2016 [Doc. 172]. Petitioner did not reply and the time for

 doing so has now passed. E.D. Tenn. L.R. 7.1, 7.2. For reasons that follow, Petitioner’s § 2255

 motion [Doc. 171] will be DENIED and DISMISSED WITH PREJUDICE.

 I.     BACKGROUND

        On August 22, 2006, Petitioner pled guilty to, and was subsequently convicted of,

 conspiring to manufacture, distribute, and possess with intent to distribute cocaine base, in

 violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(A), and possessing a firearm in furtherance of

 a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A)(i) [Docs. 110, 112, 125]. The

 parties stipulated, under Rule 11(c)(1)(C), that the statutory minimum of 180 months’

 imprisonment—consecutive terms of 120 months for the drug offense and 60 months for the




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 firearms offense—would be appropriate [Doc. 111; Presentence Investigation Report (“PSR”) ¶¶

 62–65]. The Court agreed, imposed an 180-month term of incarceration [Doc. 125].

        No appeal was taken and the conviction became final on December 11, 2006, at the

 expiration of time to appeal. See Sanchez-Castellano v. United States, 358 F.3d 424, 428 (6th Cir.

 2004) (explaining an unappealed judgment of conviction becomes final when the time for filing a

 direct appeal has elapsed); Fed. R. App. Proc. 4(b)(1)(A)(i) (“In a criminal case, a defendant’s

 notice of appeal must be filed in the district court within 14 days after . . . the entry

 of . . . judgment.”). Nearly nine-and-a-half years later—on June 27, 2016—Petitioner filed the

 instant petition for collateral relief seeking correction of his sentence in light of Johnson [Doc.

 171]. The United States responded in opposition to relief [Doc. 172].

 II.    ANALYSIS

        Petitioner appears to argue that the Johnson decision invalidated the residual clause in §

 924(c)(3)(B)’s definition of crime of violence and that the absence of that provision requires

 vacatur of his conviction under § 924(c)(1)(A) [Doc. 171]. The argument fails for two reasons.

        First, binding Sixth Circuit precedent holds that while Johnson invalidated the residual

 provision of the ACCA and identically worded clause in Section 4B1.2 of the United States

 Sentencing Guidelines, § 924(c)(3)(B)’s definition of crime of violence remains unaffected. 1 See



 1
         The ACCA mandates a 15-year sentence for any felon who unlawfully possesses a firearm
 after having sustained three prior convictions “for a violent felony or a serious drug offense, or
 both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1). The statute
 defines “violent felony” as “any crime punishable by imprisonment for a term exceeding one
 year” that (1) “has as an element the use, attempted use, or threatened use of physical force against
 the person of another” (the “use-of-physical-force clause”); (2) “is burglary, arson, or extortion,
 involves the use of explosives” (the “enumerated-offense clause”); or (3) “otherwise involves
 conduct that presents a serious potential risk of physical injury to another” (the “residual clause”).
 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual clause—that the Supreme Court
 deemed unconstitutional in Johnson. 135 S. Ct. at 2563.
                                                    2


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 United States v. Pawlak, 822 F.3d 902, 911 (6th Cir. 2016) (concluding “rationale of Johnson

 applies equally” to the Guidelines’ definition of crime of violence); United States v. Taylor, 814

 F.3d 340, 376–79 (6th Cir. 2016) (recognizing at least four “significant differences” between the

 residual clause in § 924(c)(3)(B) and the ACCA’s residual clause and noting “the argument that

 Johnson effectively invalidated [the former] is . . . without merit”).

        Second, even if Johnson’s reasoning could be used to invalidate § 924(c)(3)(B)’s residual

 clause, Petitioner’s conviction under § 924(c)(1)(A) did not rely on that provision. To the contrary,

 Petitioner was convicted of possessing a firearm in furtherance of a drug trafficking crime, not

 crime of violence [Docs. 110, 112, 125]. The statute defines “drug trafficking crime” as “any

 felony punishable under the Controlled Substances Act, 21 U.S.C. §§ 801, et seq., [or] the

 Controlled Substances Import and Export Act, 21 U.S.C. §§ 951, et seq.” 18 U.S.C. § 924(c)(2).

 Johnson has no bearing whatsoever on the scope of that definition. Accord United States v.

 Jenkins, 613 F. App’x 754, 755 (10th Cir. 2015) (deeming Johnson irrelevant to drug offenses).




 Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
 i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
 offense” and who has “at least two prior felony convictions of either a crime of violence or a
 controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
 the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA. See
 U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as well
 as a nearly identical enumerated-offense clause).

 Section 924(c)(1)(A) makes it a crime for an individual, “in relation to any crime of violence or
 drug trafficking crime . . . for which the person may be prosecuted in a court of the United States,
 [to] use[,] carr[y] [or possess] a firearm . . . in furtherance of . . . such crime.” 18 U.S.C. §
 924(c)(1)(A). Section 924(c)(3) goes on to define “crime of violence” as any “felony” that “has
 as an element the use, attempted use, or threatened use of physical force against the person or
 property of another” (use-of-physical-force clause); or “by its nature, involves a substantial risk
 that physical force against the person or property of another may be used in the course of
 committing the offense” (“residual clause”).
                                                   3


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 Because the drug offense underlying Petitioner’s § 924(a)(1)(A)(i) conviction involved violation

 of the Controlled Substances Act, the Court finds that Petitioner has failed to demonstrate that the

 same was imposed in contravention of the laws of the United States.

 IV.    CONCLUSION

        For the reasons discussed, Petitioner’s § 2255 motion [Doc. 171] will be DENIED and

 DISMISSED WITH PREJUDICE. The Court will CERTIFY any appeal from this action

 would not be taken in good faith and would be totally frivolous. Therefore, this Court will DENY

 Petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules of

 Appellate Procedure. Petitioner having failed to make a substantial showing of the denial of a

 constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule

 22(b) of the Federal Rules of Appellate Procedure.

        AN APPROPRIATE ORDER WILL ENTER.



                                         s/ Thomas W. Phillips
                                       SENIOR UNITED STATES DISTRICT JUDGE




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